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                                     UNITED STATES COURT OF APPEALS
                                          FOR THE SIXTH CIRCUIT

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                                              No: 22-6078
                                           ________________

                                                                      Filed: March 06, 2024

In re: ONGLYZA (SAXAGLIPTIN) AND KOMBIGLYZE (SAXAGLIPTIN AND METFORMIN)
PRODUCTS LIABILITY LITIGATION MDL 2809

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LEATHA TAYLOR, Individually and as Administratrix of Estate of David Taylor, et al.,


                Plaintiffs - Appellants


v.

BRISTOL-MYERS SQUIBB COMPANY, et al.,

                Defendants - Appellees



                                                    MANDATE

     Pursuant to the court's disposition that was filed 02/13/2024 the mandate for this case hereby

issues today.



COSTS: None
